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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO: 0-20-CV-61872-AHS

   ALAN DERSHOWITZ,

          Plaintiff,

   v.

   CABLE NEWS NETWORK, INC.,

         Defendant.
   ______________________________/


                           DECLARATION OF KATHERINE M. BOLGER
                       IN SUPPORT OF DEFENDANT’S MOTION TO UNSEAL

   I, KATHERINE M. BOLGER, declare:

          1.       I am a partner at Davis Wright Tremaine LLP, counsel to Defendant Cable News

   Network, Inc. (“CNN”) in this action. I submit this declaration in support of CNN’s Motion to

   Unseal the transcript of the May 6, 2022 hearing. (the “Motion”).

          2.       On May 2, 2022, I sent an email to Brian Rodier, counsel for Plaintiff, Alan

   Dershowitz (“Dershowitz”) advising that CNN had confirmed with the Magistrate’s Office that

   any objection to her April 21, 2022 Order was due 14 days from the mediation date - - rather than

   the hearing date.

          3.       Attached hereto as Exhibit “A” is a true and correct copy of such email.

          4.       Mr. Rodier, on behalf of Mr. Dershowitz, did not correct, object or provide any

   response whatsoever to my May 2, 2022 correspondence.

          5.       On May 9, 2022, Mr. Rodier served responses to CNN’s discovery responses as

   requred by Magistrate Valle’s ruling. In the email, he informed CNN “[w]e are appealing none of

   the rulings.”
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          6.     Attached hereto as Exhibit “B” is the email without the attachments.

      I declare under the penalties of perjury that the foregoing is true and correct.

   Dated: June 9, 2022                                            /s/ Katherine M. Bolger

                                                                Katherine M. Bolger




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                       EXHIBIT “A”
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    From:                       Bolger, Kate
    To:                         Brian Rodier
    Cc:                         Feder, Eric; Holoszyc-Pimentel, Raphael; Edison, Eric; LeMieux, George
    Subject:                    Two things
    Date:                       Monday, May 2, 2022 1:56:15 PM


    1.      We confirmed with Magistrate Valle’s chambers that any objection to her order is due 14
    days from the mediation date (rather than the hearing date).

    2.      I am wondering if you have reached any decision regarding my offer related to the
    employment agreements. Will you please let me know one way or the other by Wednesday as I will
    have to raise that issue with the Court if we cannot agree?

    Thanks
    Kate Bolger

    Katherine M. Bolger | Davis Wright Tremaine LLP
    1251 Avenue of the Americas, 21st Floor | New York, NY 10020
    Tel: (212) 402-4068 | Fax: (212) 489-8340
    Email: katebolger@dwt.com | Website: www.dwt.com

    Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Washington, D.C.
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                       EXHIBIT “B”
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    From:            Brian Rodier
    To:              Bolger, Kate; Edison, Eric; LeMieux, George
    Cc:              Holoszyc-Pimentel, Raphael; Feder, Eric
    Subject:         Dershowitz v CNN
    Date:            Monday, May 9, 2022 11:10:10 PM
    Attachments:     POST RULING Plaintiff"s Responses to CNN"s Second RTP.pdf
                     POST RULING Plaintiff"s Responses to CNN"s First RTP.pdf
                     POST RULING Responses to CNN"s First Set of Interrogatories .pdf


    [EXTERNAL]


    Counsels:

    Attached are updates responses pursuant to the court’s rulings from the April 21, 2022 hearing.
    Documents will be sent under separate cover. The password for access remains the same. If you do
    not still have it, please let me know.

    We are appealing none of the rulings.

    Brian M. Rodier, Esq.
    Rodier & Rodier, P.A.
    400 N. Federal Hwy.
    Hallandale Beach, Florida 33009
    Phone: (954) 455-9300
    Fax: (954) 457-0499

    THIS TRANSMISSION IS TO BE DELIVERED ONLY TO THE NAMED ADDRESSEE AND MAY CONTAIN INFORMATION
    OR MATERIAL THAT IS CONFIDENTIAL, PROPRIETARY OR PRIVILEGED. IF YOU RECEIVE THIS MESSAGE IN
    ERROR, PLEASE IMMEDIATELY DELETE IT OR CALL (954) 455-9300 FOR INSTRUCTIONS ON ITS RETURN OR
    DESTRUCTION.
